 

Case 1:15-cr-10323-IT Document 48-4 Filed 03/18/16 Page 1 of 2

EXHIBIT D
 

Case 1:15-cr-10323-IT Document 48-4 Filed 03/18/16 Page 2 of 2

COLLORA.:

William J. Lovett
wloveti@collorallp.com
617-371-1007 direct

July 16, 2015
Via Electronic & First Class Mail

Steve Heymman, Esq.

United States Attorneys’ Office
United States Federal Courthouse
One Courthouse Way, Suite 9200
Boston, MA 02210

RE: Grand Jury Investigation

Dear Steve:

| write in follow up to my letter of May 15, 2015 concerning your request to preserve
information contained on the Gibson & Behman PC servers and other individual
computers and hard drives. Pursuant to our agreed upon protocol, the IRS will mirror
image the physical servers located in Behman Hambelton’s Woburn office that contain
Gibson & Behman PC documents and other information. The IRS will then run
searches and provide me with a list of documents and, where appropriate, copies of
certain documents, so that | can determine whether the documents are responsive or
privileged. This protocol was established to ensure that no privileged documents, such
a communications between Gibson & Behman PC or Behman Hambelton and clients,
and communications between my law firm, Gibson & Behman PC and Scott Behman,
are produced to the grand jury.

Our agreed upon protocol, however, failed to address the possibility that, in the event
that the grand jury returns and indictment, defense counsel may request copies of the
mirror images. In the event that such a request is made, | would request that any
production of information from the Gibson & Behman PC servers to defense counsel be
subject to the same protocol described above to avoid disclosure of any privileged
documents or communications.

Please let me know if you have any questions or would like further information.

Very truly yours,

William J. Lovétt

cc: Special Agent Ronald Mullett

100 High Street, 20th Floor Boston, MA 02110-2321 617 371 1000 main 617 371 1037 fax collorallp.com
